                EXHIBIT B




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From:
To:
Cc:                           ca4.uscourts. ov
Subject:           Re: INFORMATION - Actions Taken on Your Report of Wrongful Conduct
Date:              06/04/2019 02:24 PM


Dear James,

Thank you for letting me know.

Best regards,

Caryn



On Jun 3, 2019, at 4:29 PM, "                                  ca4.uscourts. ov"
                ca4.uscourts.


        Dear Caryn,

        I wanted to let you know that disciplinary action was taken last week as a result of your
        report of wrongful conduct. As we had discussed previously, I cannot reveal the nature of
        the action because it is a disciplinary matter. But I wanted to let you know that action was
        taken, and I wanted to re-emphasize that: (1) the Fourth Circuit took your report very
        seriously, (2) Chief Judge Gregory ordered a painstaking and exhaustive investigation into
        your allegations, and (3) actions were taken based on careful consideration of the
        investigation report.

        The Fourth Circuit deeply appreciates your time and effort in this process.

        Best regards,

        James



        James N. Ishida
        Circuit Executive
        U.S. Court of Appeals for the Fourth Circuit
        1100 East Main Street, Suite 617
        ~   111111   !. 23217-3517

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